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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


MAHMOUD KHALIL,

          Petitioner,

v.                                                               Case No. 25-CV-01935 (JMF)

WILLIAM P. JOYCE, et al.,

          Respondents.




          NOTICE OF MOTION TO WITHDRAW AS COUNSEL AND TERMINATE
            REPRESENTATION AS COUNSEL OF RECORD FOR PETITONER

      Pursuant to Rule 1.4 of the Local Rules of the United States District Court for the Southern

District of New York, undersigned counsel writes to respectfully request the withdrawal and

termination of representation as counsel of record in the above-captioned matter.

      The petitioner will not be prejudiced by withdrawal of undersigned counsel, as several

attorneys from the American Civil Liberties Union Foundation, ACLU Immigrants’ Rights

Project, Seton Hall Law School Center for Social Justice, New York Civil Liberties Union, the

Center for Constitutional Rights, and Main Street Legal Services, Inc., as well as Amy Greer of

Dratel & Lewis, are entered as counsel in this matter and will continue to serve as counsel for the

petitioner going forward. There is no lien asserted in this matter. A proposed order is annexed

hereto.
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Dated: March 13, 2025
New York, New York                 Respectfully submitted,

                                   /s/ Kyle Barron
                                   Kyle Barron
                                   THE LEGAL AID SOCIETY
                                   Immigration Law Unit
                                   49 Thomas St., 5th floor
                                   New York, NY 10013
                                   (646) 574-2761

                                   Counsel for Petitioner
